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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG * MDL NO. 2179
“DEEPWATER HORIZON” in the *
GULF OF MEXICO, on * SECTION J
APRIL 20, 2010 *
* JUDGE BARBIER
* MAG. JUDGE SUSHAN
THIS DOCUMENT APPLIES TO: *

No. 12-311 JURY TRIAL DEMANDED

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LIBERTY’S REPLY IN SUPPORT OF ITS RULE 12C MOTION

Liberty Insurance Underwriters, Inc. hereby replies to Cameron International
Corporation’s Response (R. Doc. 6697) to Liberty’s Rule 12(c) Motion (R. Doc. 6438). As
demonstrated below, Cameron cannot not avoid the inevitable legal conclusions drawn from its
pleadings:

> The Transocean Indemnity obligation is “Other Insurance” — a point Cameron concedes;

> Cameron bargained away its right, and therefore, Liberty’s subrogation right, to
indemnity from Transocean, making it impossible for coverage to attach;

> By bargaining away those rights, Cameron impaired Liberty’s subrogation rights,
destroying any coverage that would have attached;

> The plain terms of the policy do not cover defense costs or a duty to defend; and

> There is no bad faith.

For the reasons discussed below and in Liberty’s opening brief, Liberty’s Rule 12 Motion should

be granted.

A. Cameron’s Arguments Based On The “Other Insurance Clause” Are Wrong.
As a threshold matter, Cameron does not dispute that the Transocean indemnity

obligation is “Other Insurance” under the Liberty Excess Policy. Cameron only disputes its

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operation and suggests an unworkable procedure that allegedly renders it meaningless.
Specifically, Cameron attempts to turn the burden of proof on its head, arguing that Liberty must
prove that the “Other Insurance” condition of the Liberty Excess Policy has not been satisfied
and further that Liberty has not met that burden. Cameron is wrong on both points.

1. Cameron, Not Liberty, Bears The Burden To Prove Conditions Of Coverage,
Including No Available “Other Insurance.”

Although Cameron cites two cases purportedly shifting the burden to the insurer on
“Other Insurance” provisions, neither applies Texas law. Under Texas law, which applies here,’
the insured bears the burden of proving that an excess policy attaches. The insured also must
prove exhaustion of underlying insurance as a condition precedent to recovery against an excess
carrier. See, e.g., D.R. Horton, Inc. v. Am. Guar. & Liab. & Ins. Co., No. 11-039, 2012 WL
1893977, at *19 (N.D. Tex. 2012) (to establish second-level excess insurer’s payment obligation,
insured had burden to prove that underlying insurance and self-insured retention were
exhausted); Dresser Indus., Inc. vy. Underwriters at Lloyd’s, et al., 106 S.W.3d 767, 771 (Tex.
App. 2003) (“[The insured] must prove the exhaustion of underlying insurance as a condition
precedent to recovery against the excess carrier.”).’ That is true for "Other Insurance" as well,

as a leading treatise confirms:

When a policy is excess, whether because it is truly written to apply only above
“Other Insurance” with lower limits or becomes excess by operation of an “Other
Insurance” clause, part of the insured’s burden of proof in establishing a claim for

' Texas law applies to this coverage dispute involving an insurance policy issued and delivered in Texas to a
Texas insured and containing Texas endorsements. See, e.g., Am. Elec. Power Co. v. Affiliated FM Ins.
Co., 556 F.3d 282, 286 n.2 (5th Cir. 2009) (“Under the Louisiana choice-of-law regime, the law of the state
where the insurance contract was issued and executed generally governs the interpretation of that
contract.”); Simmons y. Liberty Mut. Fire Ins. Co., 420 Fed. Appx. 388, 390 (Sth Cir. 2011).

2 See also Serv. Corp., Int’l v. Great Am. Ins. Co. of N.Y., No. 07-20313, 2008 WL 280900, at *5 (Sth Cir.
2008) (excess coverage “not triggered” until underlying coverage exhausted).

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recovery from such insurance is the fact that the loss is such that the limits of the
excess policy have been triggered.

COUCH ON INS., § 254:39. The Fifth Circuit agrees that “Other Insurance” may be a condition of
coverage. See RSR Corp. v. Int’l Ins. Co., 612 F.3d 851, 858-61 (Sth Cir. 2010).

Here, the Liberty Excess Policy unquestionably provides, as a condition of coverage, that
the policy is excess of “Other Insurance” under Condition F:

F, Other Insurance

If “Other Insurance” applies to a “loss” that is also covered by this policy,
this policy will apply excess of such “Other Insurance.” Nothing herein
will be construed to make this policy subject to the definitions, terms,
conditions and exclusions of such “Other Insurance.” However, this
provision will not apply if the “Other Insurance” is specifically written to
be excess of this policy.

“Other Insurance” includes any type of self-insurance, indemnification or
other mechanism by which an Insured arranges for funding of legal
liabilities. (emphasis added).

Because the “Other Insurance” clause is a condition of coverage, under Texas law, Cameron, not
Liberty, bears the burden of proof that the condition has been satisfied.

In arguing that Liberty bears the burden of proof, Cameron chiefly relies on two cases:
Rhone-Poulenc, Inc. v. Int'l Ins. Co., No. 94-3303, 1996 WL 328011, at *3 (N.D. Ill. 1996), and
Insurance Co. of N. Am. yv. Kayser-Roth, No. C.A. PC 92-5248, 1999 WL 813661 (R.I. Super.
Ct. 1999)3 As a threshold matter, neither case applies Texas law. Moreover, these cases are
inapposite. In the unpublished decision in Rhone-Poulenc, the only issue before the court was
whether environmental impairment liability policies provided concurrent primary coverage with
commercial general liability policies issued to the same insured, such that the CGL insurers had

to be joined under Rule 19. Rhone-Poulenc did not address the burden of proof to trigger

3 R. Doc. 6697-2, at pp. 14-15.
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coverage under an excess policy. Moreover, the “Other Insurance” clause in Rhone-Poulenc
expressly required that the “Other Insurance” be “collectible;” Condition F of the Liberty Excess
Policy does not contain this requirement. Like Rhone-Poulenc, the Kayser-Roth case involved
different contract language interpreted under a different state’s law. Specifically, the Kayser-
Roth court applied Rhode Island law in interpreting an “Other Insurance” clause that the “Other
Insurance” to be “valid and collectible.” The Liberty Excess Policy does not contain this
requirement.’

Because the “Other Insurance” clause is a condition of coverage, Cameron bears the
burden of proof that this condition precedent to the attachment of the Liberty Excess Policy has

been satisfied.

2. Cameron Has Not Pled Allegations To Satisfy Its Burden Of Proving No
Available “Other Insurance.”

Cameron has not shown that the “Other Insurance” condition precedent to coverage
under the Liberty Excess Policy has been satisfied, and indeed, regardless of the burden of proof,
Cameron’s actions have made this condition precedent impossible. Cameron’s chief arguments
on why the “Other Insurance” condition precedent does not prevent coverage from attaching are
(1) Cameron asked Transocean to honor its contractual indemnity obligation and Transocean
refused; and (2) Liberty’s contention that the policy must be enforced as written purportedly

leads to absurd results. These complaints do not hold water.

4 Raytheon Co. v. Continental Cas. Co., 123 F. Supp. 2d 22 (D. Mass. 2000), also cited by Cameron,
involved a “super escape clause” that was a separate exclusion in some policies; and thus the court treated
the clause as an exclusion. Raytheon also involved primary policies and thus, the insured could adequately
plead the existence of coverage without alleging exhaustion, a requirement to allege that excess coverage is
triggered.

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On the first point, Cameron’s position would render the “Other Insurance” clause
toothless, as demonstrated by Cameron’s own actions. Although here Cameron tells the Court
that Liberty should give up on the benefit of its bargain on the “Other Insurance” clause because
Transocean disagreed on indemnity, Cameron told this Court in the BP Litigation that “any fair
reading of the [Drilling Contract] will confirm” that Cameron is owed indemnity:

[] BP argues that the language of the Drilling Contract does not support the indemnity
asserted by Cameron. That is false, as any fair reading of the contract will confirm.

Cameron Reply Brief at p. 2 (R. Doc. 4866) (emphasis added). Cameron further told this Court
that because of its indemnity rights, “under no circumstances” would the risk of loss fall on
Cameron:

The risk of loss may fall on BP (which assumed that primary risk), or it may fall on

Transocean (which may have forfeited its right to indemnity by its conduct). But under
no circumstances may it fall on Cameron. Cameron is entitled to summary judgment.

Id. (emphasis added). Indeed, Cameron pointed out that “[h]olding [BP and Transocean] to the
terms of their sophisticated bargains [to provide indemnity to Cameron] will assure proper
allocation of the pollution risk”:

BP continues to disavow and evade its full responsibility for subsurface pollution from
the Macondo well. Just as BP tried to rewrite Transocean’s insurance obligations under
the Drilling Contract, BP now tries to rewrite its indemnity obligations under the same
contract. Just as this Court rejected BP’s arguments about the insurance provisions, Doc.
4588, it should reject BP’s arguments about its indemnity obligations and Cameron’s
related indemnity rights. BP owes indemnity to Transocean for pollution and related
liabilities under the Drilling Contract, and Transocean, in turn, owes Cameron the full
benefit of that indemnity. Holding these parties to the terms of their sophisticated
bargains will assure proper allocation of the pollution risk.

Id. at p. 1 (emphasis added). These good faith assertions by Cameron, grounded on the indemnity
provisions of its contract with Transocean, which itself was grounded in standard industry

practice on allocation of pollution risk among sophisticated parties, demonstrate that the claim

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for indemnity was alive and well. As the Fifth Circuit has held, it is the existence of the
indemnity right, “Other Insurance,” that triggers the condition, “whether or not recovery under
this “Other Insurance” is actually sought’:

By it plain language, the triggering of Condition 8 [“Other Insurance” clause] requires
only (1) the existence of “Other Insurance” insuring to [the insured’s] benefit, and (2)
overlapping coverage between that “Other Insurance” and [the policy at issue]. The
means by which actual recovery might be achieved under the “Other Insurance” in
question, whether by settlement agreement or by judgment, is irrelevant to Condition 8’s
applicability. The existence of “Other Insurance” that covers the same liability as the
Environmental policies is what triggers the condition, whether or not recovery under this
other insurance is actually sought.

RSR Corp., 612 F.3d at 858. Cameron’s deal with BP may have ended Cameron’s own pursuit
of its indemnity rights; but as RSR Corp. confirms, the settlement does not negate the fact that
the indemnity right existed triggering Condition F and preventing coverage from attaching.
Indeed, when Cameron struck its deal with BP, Cameron did not abandon its right to
indemnity. Cameron bargained it away, and in Cameron’s own opinion, received a significant
benefit because of its claim to indemnity. See, e.g., Am. Cmplt. at § 45 (R. Doc. 6287) (alleging
a decision by the Court on indemnity motions “could easily . . . result in substantially higher
settlement demands on Cameron”); id. at 9 51 (“BP made the release of [the indemnity claim]
part of its settlement expressly because BP might ultimately be responsible to Transocean, dollar
for dollar, for the very same indemnification claim.”); id. at ¢ 53 (“Cameron’s release of its
indemnification claims was [] a crucial part of the settlement consideration that BP was seeking
as a part of the settlement” because BP might ultimately be responsible for the indemnification
claim) (emphasis added). Had Cameron been successful on its motion, even Cameron would

concede, that indemnity would inure to the benefit of Liberty under the terms of the policy. It is

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the bargain with BP — struck willingly by Cameron—that ended Cameron’s pursuit of indemnity
against Transocean and made it impossible for Cameron to fulfill the condition precedent to
trigger coverage under the Liberty Excess Policy.

In fact, Cameron’s own arguments in its opposition memorandum illustrate that
Cameron’s position is absurd, not as Cameron claims, Liberty’s. Cameron maintains that the
proper way for an “Other Insurance” provision to operate is for the insurer to first pay-up and
then pursue indemnity against the “other insurer.” Opp. at p. 13 (R. Doc. 6697-2). This, Liberty
cannot do because Cameron made it impossible by giving up any right it had to pursue an
indemnity claim. See Am. Cmplt. at §§ 42-51 (R. Doc. 6287). Cameron conveniently ignores
this salient point. Factoring this point in, as the Court must, the only way to reach the conclusion
that Cameron is entitled to coverage is to rewrite Liberty’s policy to remove Condition F in
violation of the cardinal rule of contract interpretation. See Am. Mfrs. Mut. Ins. Co. v. Schaefer,
124 S.W.3d 154, 162 (Tex. 2003) (“[W]e may neither rewrite the parties’ contract nor add to its
language.”).

In short, Cameron had a claim for indemnity against Transocean; coverage under the
Liberty Excess Policy only attaches in excess of such indemnity rights; Cameron bargained away
its claim for indemnity; and by doing so, Cameron has made fulfillment of the condition
precedent to coverage under the Liberty Excess Policy impossible. There is no coverage, and

there can be no coverage.

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B. Cameron’s Extinguishment Of Liberty’s Policy Rights Is Improper And Negates
Coverage.

In settling with BP, Cameron impaired Liberty’s valuable rights under the insurance
policy, thereby negating coverage. In its opposition, Cameron does not attempt to dispute or
distinguish Liberty’s cited authorities on this point, because it cannot. Cameron instead
disingenuously tries to obfuscate the issue, arguing that it did not release Liberty’s subrogation
rights because the settlement contains the following single sentence: “Notwithstanding any other
provision of this Agreement, including paragraphs 4.2 and 4.3, Cameron is not releasing any
subrogation or other rights of Liberty Insurance Underwriters Inc.”. See Opp. at p. 24 (R. Doc.
6697-2). This purported reservation of Liberty’s rights is hollow lip-service. As a subrogated
insurer, Liberty can only stand in the shoes of Cameron on a claim for indemnity. And Cameron
undisputedly assigned to BP or released its “indemnification claims against Transocean under the
Transocean Contracts.” Exh. 3 to Opp. at Par. 4-5 (R. Doc. 6697-2). Therefore, Cameron
released the very indemnification rights to which Liberty would have been subrogated. By
extinguishing Liberty’s subrogation rights, Cameron “forfeits any claim for indemnity under the
policy.” Foundation Reserve Ins. Co., 458 S.W.2d at 214, 216 (Tex. Civ. App., 1970, no pet.).

Equally misplaced is Cameron’s reliance on an alleged promise not to raise Cameron’s
breach of the Liberty Excess Policy’s consent requirements. Regardless of whether Liberty
agreed it would not assert a violation of the consent requirement, Liberty never agreed to any
release of its indemnification subrogation rights. Any fair reading of the letter upon which
Cameron relies clearly advises that Liberty’s non-objection relates to the amount of the

settlement. Cameron conveniently omits that in the same letter, Liberty expressly objected to

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“the non-economic aspects of the proposed settlement” clarifying that “such action will
jeopardize any coverage which Cameron might otherwise have under the LIU policy.”°

Cameron also protests that it had to release its indemnification from Transocean to settle,
suggesting the release is somehow excusable. Am. Cmplt. at J{[ 42-51 (R. Doc. 6287). Even

accepting this as true does not change the fact that Cameron’s release of those rights had

implications under the plain terms of the Liberty Excess Policy; Cameron cannot unilaterally

alter those terms. See e.g., Liberty’s Memo. at pp. 17-18 (R. Doc. 6438-3). Not surprisingly,
Cameron has cited no authority allowing it to do so.

Finally, Cameron’s response misleadingly chides Liberty for not raising the “Other
Insurance” issue until “after settlement negotiations with BP commenced, some eighteen months
after Cameron gave Liberty notice of its claim.” Opp. at pp. 9, 28 (R. Doc. 6697-2). The
assertion is irrelevant to the dispositive issue and disingenuous. Cameron admits that “Other
Insurance” clauses control the order in which multiple sources of insurance attach or are called
on to pay. See id. at p. 13. Unless and until the Cameron-BP settlement began to materialize and
payment of an amount within Liberty’s position became an issue, Liberty’s “Other Insurance”

clause had no relevance to Cameron’s claim.

° Liberty agrees that the Court should not consider evidence beyond the pleadings on this Rule 12 motion.
Liberty raises the letter solely to clarify its mischaracterization by Cameron.

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C. Liberty Is Entitled To Dismissal Of Cameron’s Bad Faith Claims Under Texas and
Louisiana Law.

Nothing in Cameron’s responses changes the fact that Cameron has not pled a viable
claim for bad faith under any state’s law.

1. The Texas Bad Faith Claims Should Be Dismissed.

Cameron errantly contends that it has sufficiently pled a cause of action for bad faith
under the Texas Insurance Code Chapter 541. Cameron could not be more wrong. Under the
Texas Insurance Code, for there to be bad faith, liability must be “reasonably clear.°© That
standard cannot be established here as a matter of law, where the Liberty Excess Policy is excess
to any “indemnification” and the amount and extent of indemnity flowing from Transocean to
Cameron undisputably has not been determined. Stated another way, how can Liberty have
acted in bad faith in claiming Cameron had a right to indemnity when Cameron itself had
pending a motion against Transocean in the Oil Spill MDL vigorously claiming the same?
Further, Cameron should be judicially estopped from attempting to have it both ways and taking
diametrically opposite positions before this Court on the viability of its right to indemnification
from Transocean. Cameron’s claim under Section 542 also must be dismissed because Section
542 only applies to first-party insurance claims. Liberty Memo. at p. 28 (R. Doc. 6438-3).
Cameron’s claim here is a third-party claim.

2. The Louisiana Bad Faith Claims Should Be Dismissed.

Because Texas law applies, this statutory Louisiana claim is absurd; but independently,

Cameron’s claims under La. Rev. Stat. 22:1892 must be dismissed because this statute does not

$ See Tex. Ins. Code art. 541.060(A)(2)(B); see also Aranda v. Ins. Co. of N. Am., 748 S.W.2d 210, 213 (Tex.
1988).

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apply on its face to Cameron’s allegations. Cameron argues that Liberty’s failure to fund the
settlement could trigger liability under subsection 1892(A)(2) but cites no authority supporting
its argument. By its terms, this provision solely requires insurers to “pay the amount of any third
party property damage claim . . . within thirty days after written agreement of settlement of the
claim from any third party claimant.” La. Rev. Stat. 22:1892(A)(2). On its face, this provision,
which must be strictly construed, see, e.g., Jackson y. State Farm Fire & Cas. Co., 2010 WL
724108 at 3 (ED. La. Feb. 22, 2010),’ governs only a third-party claimant’s rights against an
insurer, and not the rights of a first-party claimant like Cameron, the named insured under the
policy. Moreover, the statute does not apply absent a settlement agreement between the third-
party claimant and the insurer. See, e.g, Woodruff v. State Farm Ins. Co., 767 So. 2d 785 (La.
App. 4 Cir. 2000) (third-party claimant could not assert claim against liability insurer under
section 1892(A)(2) absent allegation that insurer had reached an agreement with claimant).
Here, Cameron has not alleged that Liberty is party to a settlement agreement with a third-party,
and indeed it is not, and thus section (A)(2) is inapplicable.

Nor does section 1892(A)(1) apply to Cameron’s allegations that Liberty failed to settle
the BP claim. The Fifth Circuit specifically has observed that subsection (A)(1) “does not
squarely cover” an insured’s claim that its insurer failed to settle third-party liability claims
against it. Louque v. Allstate Ins. Co., 314 F.3d 776, 780 (Sth Cir. 2002). Citing the plain

statutory language, the Fifth Circuit noted that the statute penalizes “instead” only the insurer’s

7 Id. ([Louisiana’s] bad faith statutes are penal in nature and should be strictly construed); see also Theriot v.
Midland Risk Ins. Co., 95-2895 (La. 5/20/97), 694 So. 2d 184, 187 (“[W]hen the legislature specifically
enumerates a series of things, the legislature’s omission of other items, which could have been easily
included in the statute, is deemed intentional”)

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failure to pay “a claim due the insured ‘within thirty days after receipt of satisfactory proofs of
loss,’” ie., a first-party claim.* Jd at 781. Cameron has failed to identify a single reported
decision in which the statute was held to apply to an insured’s claim that an insurer failed to
settle a third-party claim. Absent any such authority, the Court must narrowly construe this
penal statute and hold that it does not apply to Cameron’s claim that Liberty failed to contribute
to the BP settlement.

Finally, even if subsection 1892(A) could apply, Cameron’s claim fails because it cannot
show that Liberty received “satisfactory proof of loss,” which requires that the insurer receive
sufficient information to “fully apprise the insurer of the insured’s claim.” McDill v. Utica Mut.
Ins. Co., 475 So. 2d 1085, 1089 (La. 1985). Cameron contends that Liberty received the
required proof merely because Liberty was “integrally involved in the claim and was sent a copy
of the Settlement Agreement immediately after it was executed.” Opp. at p. 27 (R. Doc. 6697-2).
Cameron does not dispute, nor could it, that Liberty did not receive information concerning the
amount of the indemnity Transocean owed to Cameron, as the issue was unresolved. Without
this information, Liberty could not possibly assess the amount of covered loss and thus was not
“fully apprised” concerning its potential liability. Therefore, Liberty was not provided

“satisfactory proof of loss” and the statutory payment obligation was not triggered.’°

8 Contrary to Cameron’s suggestion, Liberty does not dispute that section 1892 affords limited rights to both
first- and third-party claimants, as stated in Louque. It does not follow, however, that Cameron’s claim
against Liberty falls within the limited scope of such rights.

9 See also Armstrong v. Safeway Ins. Co., 47 So. 3d 63 (La. App. 3rd Cir. 2010).

” Cameron claims that the coverage dispute relating to application of the “other insurance” provision is
relevant “[a]t most” to whether Liberty’s conduct was arbitrary and capricious and not to whether Liberty
received satisfactory proof of loss. Liberty agrees that the “other insurance” issue is highly relevant in
determining whether its actions were “arbitrary and capricious.” However, Cameron cites no authority
suggesting that the provision is not also relevant to the “satisfactory proof of loss” issued.

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D. Liberty Is Entitled To Dismissal Of Cameron’s Claim Regarding Defense Costs.

Liberty owes Cameron no duty of defense or costs of defense; the Liberty Excess Policy
is clear on this issue. Cameron actually admits that Liberty has no duty to defend, but attempts
to create an artificial distinction between an insurer’s duty to defend and an insurer’s duty to pay
an insured’s defense expenses.

But Liberty is not liable for defense costs pursuant to the clear and unambiguous terms of
the Excess Policy. As discussed in Liberty’s Motion, the plain language of the policy supplants
the defense provisions language in the underlying policy and limits Liberty’s defense and
payment obligations under the policy. The Liberty Excess Policy does not provide for payment
of defense costs, a fact Cameron ignores. Specifically, the term “loss” does not include defense
costs. The policy states that Liberty will pay on behalf of the Insured “loss” that results from an
occurrence during the “policy period.” “Loss” is defined in the policy as “those sums which the
insured is legally obligated to pay as damages, after making proper deductions for all recoveries
and salvage.” Exh. A to Liberty’s Memo., at § IV (Definitions) (R. Doc. 6438-4). Cameron’s
attorney fees are not “damages”, therefore, “loss” under the Liberty excess Policy does not
include defense costs.

Second, the Liberty policy expressly addresses defense costs and provides that Liberty
has no obligation to pay them. With respect to defense costs, the Policy states “[w]e will have
the right, but not the duty, to be associated with you or your underlying insurer or both in the

investigation of any claim or defense of any suit which in our opinion may create liability on us

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for “loss” under this policy. If we exercise such right, we will do so at our expense.” Jd. at J
III(B).

Cameron rightly admits that any common law duty of defense is supplanted and
exclusively governed by the terms and conditions of the Liberty Policy. That admission is the
end of the analysis. The Liberty Excess Policy outlines Liberty’s duties related to the defense of
Cameron and clearly sets forth that no duty to defend or pay defense costs exists.

E. Cameron’s Claims Should Be Dismissed Pursuant To Rule 12.

Finally, Cameron suggests the insurance coverage issues raised in Liberty’s motion
cannot be resolved on a Rule 12 motion; Cameron is wrong. Numerous courts, including courts
in this District, have resolved insurance coverage cases at the pleadings stage.|! See, ¢@.g.,
Lawrence v. Slidell Welding Srv., Inc., 2011 WL 63875 (E.D. La., 2011) Gudgment on pleadings
that “employment exclusion” negated coverage and duty to defend). Just recently, for example,
Judge Eldon Fallon granted judgment on the pleadings deciding whether claims for property
damage arising from Chinese Drywall were covered under a variety of homeowner policies. See
Inre Chinese Mfred. Drywall Prod. Liab. Litig., 759 F. Supp. 2d 822 (E.D. La. 2011).

Nor are there facts beyond the pleadings necessary to resolve this coverage dispute.
Interpretation of an insurance policy is a question of law. See Indian Harbor Ins. Co. y.
Bestcomp, Inc., 452 Fed. Appx. 560 (5th Cir. 2011). Everything necessary to decide this

question of law — i.e. the policy, the settlement agreement, and the allegations — is properly

un See also Guidry v. Am. Public Life Ins. Co., 512 F.3d 177 (Sth Cir. 2007) (coverage under a health
insurance policy); Chauvin v. State Farm Fire & Cas. Co., 495 F.3d 232 (Sth Cir. 2007) (application of
Valued Policy Law statute to homeowner’s policies); Gabarick v. Laurin Maritime (Am.), Inc., 650 F.3d
545, (Sth Cir. 2011) (coverage under maritime liability policy).

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before the Court in Liberty’s Rule 12 (c) motion. See Collins v. Morgan Stanley Dean Witter,
224 F.3d 496, 498 (5th Cir. 2000) (court may consider both pleadings and documents attached to
motion that are referred to in the plaintiff's complaint and are central to plaintiffs’ claims).
Attempting to muddy the waters, Cameron opposition attaches (1) letters from other
insurers regarding the settlement and (2) an unsubstantiated declaration that Cameron intended
the Liberty Excess Policy to be completely follow form without exception. Neither of these
items creates a fact issue for purposes of this motion. What governs here are the terms of the
contract between Liberty and Cameron, and not the comments of other insurers who were
seeking to put pressure on Liberty to settle for their own business reasons or the subjective intent
of the insured. See, e.g., Nat’l Union Fire Ins. Co. v. CBI Indus., Inc., 907 S.W. 2d 517, 521
(Tex. 1995). The exhibits are unauthenticated hearsay and irrelevant to the sole issue before the
Court in Liberty’s motion for judgment on the pleadings.” As the Fifth Circuit explained, the
goal of the court in interpreting an insurance contract “is to ascertain and to give effect to the
intent of the parties as expressed in the instrument” and “by considering the policy as a whole

”

and interpreting the policy terms according to their plain and ordinary meaning.” Serv. Corp.
Int’l v. Great Am. Ins. Co. of N.Y., No. 07-21313, 2008 WL 280900, at *2 (Sth Cir. 2008)
(emphasis added and internal quotes omitted).

As demonstrated above and in Liberty’s opening brief, the Liberty Excess Policy, by its

plain and unambiguous terms, has not attached to Cameron’s settlement. On the face of

Cameron’s Amended Complaint, Cameron has not stated any valid claim for relief, either

v Liberty objects to each exhibit attached to Cameron’s response, with exception to the Liberty Excess
Policy, as inadmissible parole evidence, hearsay, and lacking relevance to this contract dispute.

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contractual or extra-contractual, as the Liberty Policy has not attached to the BP-Cameron

settlement. No amount of creative pleading can overcome these facts.'? This Court should grant

Liberty’s Rule 12 motion.

Respectfully submitted,

/s/ Judy Y. Barrasso

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8 A Rule 12(c) motion tests the pleadings. Cameron cannot further plead without seeking leave to amend its
already-amended Complaint. Cameron has not sought such leave, and an Answer for Liberty will not cure
Cameron’s pleadings deficiencies. Thus, the pleadings are indeed “closed.” Alternatively, Liberty’s

motion properly falls under Rule 12(b)(6).

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the above and foregoing Reply has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of the Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 29th day of June, 2012.

/s/ Judy Y. Barrasso

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